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                                            NAILAH K. BYRD
                                    CUYAHOGA COUNTY CLERK OF COURTS
                                                     1200 Ontario Street
                                                    Cleveland, Ohio 44113




                                               Court of Common Pleas


                                     New Case Electronically Filed: COMPLAINT
                                               October 20,2022 10:57


                                                By: ZIAD TAYEH 0088027

                                                Confirmation Nbr. 2681793



  MIRDUH SPAHIJA                                                            CV 22 970243

           vs.
                                                                  Judge: WANDA C. JONES
  RAE-ANN HOLDINGS, INC., ET AL.




                                                     Pages Filed: 7




                                                                                         Exhibit A


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                                    IN THE COURT OF COMMON PLEAS
                                        CUYAHOGA COUNTY, OHIO

      MIRDUH SPAHIJA,                                          CASE NO.:
      1101 Clague Road
      Westlake, OH 44145                                       JUDGE:

                       Plaintiff
                                                               COMPLAINT
             v.
                                                               (Jury Demand Endorsed Hereon)
      RAE-ANN HOLDINGS, INC.
      aka and dba RAE-ANN SKILLED
      NURSING & REHABILITATION
      CENTERS,
      c/o John Griffiths
      27310 Oviatt Road
      Bay Village, OH 44140

      and

      SUE GRIFFITHS,
      28303 Detroit Road
      Westlake, OH 44145

      and

      JOHN GRIFFITHS,
      28303 Detroit Road
      Westlake, OH 44145

                        Defendants.


                  Now comes Plaintiff Mirduh Spahija, by and through undersigned counsel, and for his

     Complaint, states and alleges the following:

                                                    THE PARTIES

        1.    Plaintiff Mirduh Spahija (“Plaintiff”) is an individual residing at 1101 Clague Road, Westlake,

              OH 44145.

        2.    Defendant Rae-Ann Holdings, Inc. aka and dba as Rae-Ann Skilled Nursing & Rehabilitation

              Centers (“Defendant Rae-Ann”) is a corporation or similar entity operating Rae-Ann Skilled



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             Nursing & Rehabilitation Centers, with its statutory agent located at 27310 Oviatt Road, Bay

             Village, OH 44140.

        3.   Defendant Sue Griffiths (“Defendant Sue”) is a principal of Defendant Rae-Ann, who at all

             relevant times conducted the business at 27310 Oviatt Road, Bay Village, OH 44140.

        4.   Defendant John Griffiths (“Defendant John”) is a principal of Defendant Rae-Ann, who at all

             relevant times conducted the business at 27310 Oviatt Road, Bay Village, OH 44140.

                                          VENUE AND JURISDICTION

        5.   Plaintiff brings this action pursuant to Title VII of the Civil Rights Act of 1964, as amended, 42

             U.S.C. § 2000e, et seq., R.C. §4112 et seq. and well-established case law.

        6. Venue is proper in the Cuyahoga County Court of Common Pleas, as the events giving rise to

             this claim arose in Cuyahoga County.

        7.   This Court has subject matter and personal jurisdiction over the Defendants.

        8. Plaintiff has obtained a Notice of Right to Sue from the Equal Employment Opportunity

             Commission and is timely commencing suit pursuant to said Notice.

                                             FACTUAL ALLEGATIONS

        9. Plaintiff was employed with Defendant Rae-Ann, performing his duties as a financial controller,

             from April 21, 2021 - April 5, 2022.

        10. The Defendants at all times herein had the duty and authority to manage, supervise, and ensure

             the proper treatment of Defendant Rae-Ann’s employees.

        11. Defendant Rae-Ann at all times acted through its agents, Defendants Sue and John.

        12. Defendants wrongfully terminated Plaintiff due to his religious beliefs on or about April 5, 2022.

        13. Prior to April 4, 2022, Plaintiff did not inform Defendant Rae-Ann that he is Muslim.

        14. However, on April 4, 2022, Plaintiff, for the first time, disclosed he was Muslim in an email

             delivered to Defendants Sue and John requesting accommodations for Ramadan, the Muslim

             holy month of fasting.




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        15. The very next day, on April 5, 2022, without notice or warning, Defendant Rae-Ann terminated

            Plaintiff’s employment.

        16. Prior to his termination, Plaintiff was a model employee, exceeded expectations on his

            performance review, and passed all audits.

        17. There is no explanation for Plaintiff’s sudden termination other than the fact he disclosed he

            was a practicing Muslim who participated in fasting during the month of Ramadan.

        18. As additional evidence of Defendants discriminatory intent, only a few hours after Plaintiff sent

             his email requesting Ramadan accommodations, Defendant Sue contacted a former employee

            to inquire whether the former employee (who previously worked the same position as Plaintiff)

            was interested in the position again.

        19. Moreover, Defendants Sue and John printed out Plaintiff’s email and intentionally

            publicized the email to several Defendant Rae-Ann’s employees, even though Plaintiff

             stated the email related to a personal matter. This was not typical, as Defendants Sue and

            John did not generally print or disseminate work emails.

        20. Defendant Rae Ann is liable for all actions of Defendants Sue and John pursuant to the doctrine

             of respondeat superior.

        21. Defendants Sue and John were at all times herein acting in both their official and individual

             capacities.

        22. As a direct and proximate result of the Defendants’ unlawful termination of his employment,

            Plaintiff has suffered significant losses, including, but not limited to, lost income, health

            insurance, HSA contributions, compensation for paid time off, and other fringe benefits. This

             ordeal has also caused Plaintiff serious stress and emotional damage.




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    COUNT ONE: WRONGFUL TERMINATION BASED ON RELIGIOUS DISCRIMINATION

        23. Plaintiff reavers all Paragraphs of Plaintiff s Complaint as if fully restated herein.

        24. Defendants received knowledge that Plaintiff is a Muslim on or about April 4, 2022, when he

             requested Ramadan accommodations.

        25. Defendants wrongfully terminated Plaintiff due to his religious beliefs on or about April 5, 2022.

        26. Defendant Rae Ann is liable for Defendants Sue and John’s religious-based discrimination

             against Plaintiff pursuant to the doctrine of respondeat superior.

        27. As a direct and proximate result of the Defendants’ unlawful termination of his

             employment, Plaintiff has suffered significant losses, including, but not limited to, lost income,

             health insurance, HSA contributions, compensation for paid time off, and other fringe benefits.

            This ordeal has also caused Plaintiff serious stress and emotional damage.

        28. Each of the Defendants’ conduct herein was taken in bad faith, wanton, reckless, malicious,

            intentional, willful, and with intent to persecute Plaintiff, and as a result, Plaintiff is entitled to

             attorney fees and punitive damages in such amounts as will sufficiently punish Defendants for

            their willful and malicious conduct and as will serve as an example to prevent a repetition of

             such conduct in the future.

                                    COUNT TWO: FAILURE TO ACCOMMODATE

        29. Plaintiff reavers all Paragraphs of Plaintiff s Complaint as if fully restated herein.

        30. Plaintiff requested reasonable Ramadan accommodation from Defendants relating to his

            fasting during the holy month of Ramadan, but Defendants failed to discuss, much less grant,

            this accommodation.

        31. At all relevant times herein, Plaintiff is a Muslim with sincerely held religious beliefs in the

            basic tenants of Islam, including fasting during the month of Ramadan.

        32. Defendants had the ability to accommodate Plaintiff's religious beliefs, including Plaintiffs

             request to accommodate his work schedule during the month of Ramadan, without undue

             hardship.


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        33- Despite Defendants ability to accommodate Plaintiff's religious needs, Defendant refused to do

             so.

        34. The requested accommodation did not present an undue hardship on Defendants if they were

            to provide the Ramadan accommodations to Plaintiff.

        35. Defendants failed to provide Ramadan accommodations to Plaintiff, and in fact terminated

            Plaintiff for his requested accommodations.

        36. A causal link exists between Plaintiffs revelation that he is Muslim and request for

             accommodations and Plaintiff s termination.

        37. Defendants wrongfully terminated Plaintiff due to his religious beliefs on or about April 5, 2022.

        38. Defendant Rae Ann is liable for Defendants Sue and John’s religious-based discrimination

             against Plaintiff pursuant to the doctrine of respondeat superior.

        39. As a direct and proximate result of the Defendants’ actions, Plaintiff has suffered significant

            losses, including, but not limited to, lost income, health insurance, HSA contributions,

             compensation for paid time off, and other fringe benefits. This ordeal has also caused Plaintiff

             serious stress and emotional damage.

        40. Each of the Defendants’ conduct herein was taken in bad faith, wanton, reckless, malicious,

            intentional, willful, and with intent to persecute Plaintiff, and as a result, Plaintiff is entitled to

             attorney fees and punitive damages in such amounts as will sufficiently punish Defendants for

            their willful and malicious conduct and as will serve as an example to prevent a repetition of

             such conduct in the future.

                                             COUNT THREE: RETALIATION

        41. Plaintiff reavers all Paragraphs of Plaintiff s Complaint as if fully restated herein.

        42. After Plaintiff informed Defendant Rae-Ann that he is Muslim and requested reasonable

             accommodations, Plaintiff suffered adverse actions in the form of termination of Plaintiff’s

             employment.




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        43- A causal link exists between Plaintiffs revelation that he is Muslim and request for

              accommodation and Plaintiff s termination.

        44- Defendants’ conduct in wrongfully terminating Plaintiff constitutes unlawful retaliation-

        45- As a result of Defendants’ retaliation against Plaintiff, Plaintiff has suffered significant

              losses, including, but not limited to, lost income, health insurance, HSA contributions,

              compensation for paid time off, and other fringe benefits- This ordeal has also caused Plaintiff

              serious stress and emotional damage-

        46- Each of the Defendants’ conduct herein was taken in bad faith, wanton, reckless, malicious,

              intentional, willful, and with intent to persecute Plaintiff, and as a result, Plaintiff is entitled to

              attorney fees and punitive damages in such amounts as will sufficiently punish Defendants for

              their willful and malicious conduct and as will serve as an example to prevent a repetition of

              such conduct in the future­

               WHEREFORE, Plaintiff prays for the following against Defendants, jointly and
     severally:
         1-    Compensatory damages in excess of $25,000;
         2- Punitive damages in the maximum amount permitted under Ohio law;
         3- Plaintiffs attorney fees and costs of this action;
         4- All damages and relief provided by 42 U-S-C- § 2000e, etseq. and R-C- §4112-02 et seq-;
         5- Pre and post-judgment interest; and
         6- Any other relief this Court deems appropriate-


                                                 Respectfully Submitted,

                                                /s/Ziad Tayeh___________________
                                                Ziad Tayeh (0088027)
                                                Tayeh Law Offices, LLC
                                                22255 Center Ridge Road, Suite 311
                                                Rocky River, OH 44116
                                                Phone: (440) 580-0365
                                                Fax: (440) 359-8755
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                                                Attorney for Plaintiff




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                                                   JURY DEMAND

              Plaintiff hereby demands a trial by jury with the maximum number ofjurors permitted under

     Ohio law.


                                                 Respectfully Submitted,

                                                /s/Ziad Tayeh____________
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                                                Tayeh Law Offices, LLC
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